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ELLIS RAY HICKS                                 :        CIVIL ACTION

                                                :        NO. 19-108
VERSUS
                                                :        JUDGE SHELLY D. DICK

LOUISIANA DEPARTMENT OF                :      MAGISTRATE JUDGE
PUBLIC SAFETY AND CORRECTIONS,                RICHARD L. BOURGEOIS, JR
JAMES LEBLANC, AND TERRY LAWSON.
******************************************************************************
  DEFENDANTS’ SECOND MOTION FOR LEAVE TO SUBSTITUTE DOCUMENT

       NOW INTO COURT, through undersigned Assistant Attorney General, appearing

herein for the purpose of the present Motion, come the defendants, the Louisiana Department of

Public Safety and Corrections (“DPSC”), Secretary of DPSC James Leblanc, and Terry Lawson,

who respectfully move this Honorable Court for Leave to Substitute Record Document 1 in the

above-captioned matter with the Notice of Removal attached to this motion. Undersigned

Counsel submitted the Notice of Removal with an incorrect heading, and the Clerk contacted

undersigned counsel advising of the error.

       WHEREFORE, defendants, the Louisiana Department of Public Safety and Corrections

(“DPSC”), Secretary of DPSC James Leblanc, and Terry Lawson, respectfully request for leave

to substitute Document 1 in the above-captioned matter with the attached Notice of Removal.

                                             Respectfully submitted,

                                             JEFF LANDRY
                                             ATTORNEY GENERAL

                                     BY:       /s/ Jeffery A. “Beau” Wheeler, II_______
                                             Jeffery A. “Beau” Wheeler (Bar Roll #37546)
                                             Assistant Attorney General
                                             Louisiana Department of Justice
                                             Litigation Division, Civil Rights Section
                                             1885 North Third Street, 4th Floor
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                                               Facsimile:    225-326-6495
                                               E-mail:       WheelerJ@ag.louisiana.gov
                                               Attorney for Defendants

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 27th day of February, 2019, the foregoing was filed

electronically with the Clerk of Court by using the CM/ECF system. Notice of this filing will be

sent to all parties who participate in electronic filing by operation of the court’s electronic filing

system.


                          ____/s/ Jeffery A. “Beau” Wheeler, II_______
                         Jeffery A. “Beau” Wheeler, II (Bar Roll #34820)
                                    Assistant Attorney General




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